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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         MCALLEN DIVISION

IN RE:                                                                         CHAPTER 13 PROCEEDING:
ARTURO DIAZ JR                                                                 17-70283-M-13
DEBTOR


       ORDER GRANTING TRUSTEE'S MOTION TO PAY FUNDS INTO THE COURT REGISTRY

    Came on for consideration by this Court, the Trustee's Motion to Pay Funds into the Court Registry pursuant
to 11 U.S.C. Section 347(a) and it appearing to the Court that the motion as presented is with merit and it is
accordingly ,

    ORDERED, ADJUDGED AND DECREED that Cindy Boudloche, Chapter 13 Trustee is authorized to pay
$10,542.30 now held by her in the above referenced case for the following Creditor into the registry of the Court :


                                  LOS PINOS HOMEBUILDERS LLC
                                  203 N ALAMO ST
                                  ALTON, TX 78573



Dated: _________________________________
                                                               Deputy Clerk

Order Submitted By:
Cindy Boudloche
Chapter 13 Trustee
555 N. Carancahua Ste 600
Corpus Christi, TX 78401-0823
(361) 883-5786




#110
